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                                          Wednesday, February 2, 2022 at 23:52:10 Eastern Standard Time


Subject: Facing Cri*cal Decisions on Upcoming Municipal Elec*ons
Date: Tuesday, August 3, 2021 at 4:29:52 PM Eastern Daylight Time
From: Marilyn Marks, Coali*on for Good Governance
                                                                                                    A
To:      marilynrmarks@earthlink.net




       August 3, 2021

       Dear Georgia Official,

       All officials involved in November’s municipal elections or any county election
       have urgent crucial decisions to make on how the election should be
       conducted in the face of now unassailable scientific evidence that touchscreen
       BMD elections are not secure.

       In our Curling v. Raffensperger BMD lawsuit (the same lawsuit in which the
       DREs were declared unconstitutional), Plaintiffs’ experts’ rebuttal reports were
       submitted last night to attorneys for the Secretary of State, the State Election
       Board and the Fulton County Board of Registration and Elections. Dr.
       Halderman’s report is of urgent concern, and discloses the fact that his 25,000
       word initial report (under seal by court order) discloses “serious
       vulnerabilities” and the “steps for exploiting
       those vulnerabilities to alter individual votes and election outcomes in Georgia.
       ” He goes on to say:




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You can read his highly summarized report here, but Dr. Halderman’s original
detailed report is sealed by the court to avoid publicly disclosing the details of the
many ways to exploit the BMD system in undetectable attacks. He also offered to
prepare a more detailed but abridged report for the public. Dr. Halderman’s
expertise and credentials in voting system security are unquestioned. He is
frequently called to testify in Congress when national security interests of voting
system security are under consideration.

Additionally Dr. Philip Stark and Dr. Andrew Appel also submitted compelling
important reports here and here on why the BMD results cannot be audited.

Given these dire warnings from the nation’s top experts, it is incumbent on
local officials to reconsider their use of BMDs this fall, and instead use hand
marked paper ballots with voluntary robust audits. The local boards have full
authority to use hand marked paper ballots in municipal elections.
(O.C.G.A. §21-2-300(a)(2))

Additionally a county board always has the right to choose hand marked ballots
in any election if the use of the voting system is impossible or impracticable.
(O.C.G.A. § 21-2-281) It’s hard to imagine more “impracticable” conditions
than the serious flaws that Dr. Halderman found exist in Georgia’s BMDs.

We sometimes hear officials say, “The BMDs worked fine during 2020. We
didn’t have a problem.” That reflects a lack of understanding that the high risk
attacks are silent and undetectable. No one would know if there were such
manipulation, and it would be virtually impossible to find out now.

We urge you to take immediate steps to plan to conduct hand marked paper
ballot elections, counted by optical scanner and audited with statistically valid
audits by sample hand counts. For small municipal elections, hand counting is
feasible and a very transparent process, and has been the choice of many
Georgia cities for years.

In June, Dr. Halderman, Dr. Richard DeMillo, Free Speech for People and CGG
hosted a webinar explaining why BMD elections are insecure. We urge you to
watch at least the opening session with Dr. Halderman as you consider the
options for the upcoming elections.



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We are happy to provide more information. Just drop us a line.

Thank you for your service to Georgia voters.

Marilyn Marks, Executive Director
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             focused on election security, integrity, and transparency.


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